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AO 442 (Rev 11/11) Arrest Warrant



                                        UNITED STATES DISTRICT COURT
                                                                 for the
                                                         District of Columbia
                     United States of America

             BRADLEY JAMES BOKOSKI                                 ) case: 1:22-mj-00108
                                                                   ) Assigned to: Judge Meriweather,Robin M.
                                                                   ) Assign Date: 5/16/2022
                                                                   ) Description:COMPLAINTW/ARREST WARRANT
                            Defendant


                                                       ARREST WARRANT
To:      Any authorized law enforcement officer

         YOU ARE COMMANDED to arrest and bring before
                                                      a United States magistratejudge without unnecessary delay
(name ofperson to be arrested)
                                 BRADLEYJAMESBOKOSKI
who is accused of an offense or violation based on the following
                                                                 document filed with the court:
17 Indictment                 Superseding Indictment          Information     O Superseding Information             N Complaint
17 Probation Violation Petition             O Supervised Release Violation Petition     O Violation Notice               Order of the Court
This offense is briefly described as follows:

18 U.S.C. 1752(a)(l) - Entering and Remaining in a Restricted Buildingor Grounds
18 U.S.C. 1752(a)(2) - Disorderly and Disruptive Conduct in a Restricted Buildingor Grounds
40 U.S.C. 5104(e)(2)(D) - Disorderly Conduct on Capitol Grounds
40 U.S.C. 5104(e)(2)(G) - Parade, Demonstrate, or Picket in any of the Capitol Buildings
                                                                                                        2022.05.16
Date:          05/16/2022
                                                                                          Issuing officer •ssignature

City and state:                     Washington, D.C.                        Robin M. Meriweather U.S. Magistrate Judge
                                                                                            Printed name and title


                                                                 Return
         This warrant was received on (date)                           , and the person was arrested on (date)           S
at (cityand state)


Date:
   _S/z<ZzaLC                                                                            Arresting    Icer 's signatur



                                                                                            Printed name and titl
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